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                            TOGUT, SEGAL & SEGAL LLP
                                     ONE PENN PLAZA
                                 NEW YORK, NEW YORK 10119
                                            ___
                                WWW.TOGUTLAWFIRM.COM
                                            ___
                                      (212) 594-5000



                                                                       December 30, 2022


 The Honorable Michael B. Kaplan
 Chief Judge, United States Bankruptcy Court
 District of New Jersey
 402 East State Street
 Trenton, NJ 08608


                  In Re: LTL Management LLC (Case No. 21-30589-MBK)


 Dear Chief Judge Kaplan:

        I write on behalf of Kenneth R. Feinberg (“Feinberg”), the Court-appointed
 expert in the above-referenced matter.

        As required under paragraph 8 of the Order Appointing Expert Pursuant to
 Federal Rule of Evidence 706 [Dkt. No. 2881], and in connection with Feinberg’s
 retention of Togut, Segal and Segal LLP (the “Togut Firm”) as his attorneys in this case
 [Dkt. No. 3214], enclosed please find the Togut Firm’s budget and staffing plan.

                                                 Respectfully submitted,

                                                 TOGUT, SEGAL & SEGAL LLP
                                                 By:
                                                 /s/ Albert Togut
                                                 ALBERT TOGUT

 Enclosure
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                                               EXHIBIT 1

                     Togut, Segal & Segal LLP – Budget and Staffing Plan

       This budget estimate was prepared by Togut, Segal & Segal LLP (the “Togut
 Firm”) in connection with the firm’s retention as counsel to Kenneth R. Feinberg
 (“Feinberg”) in In re LTL Management LLC, Case No. 21-30589 (MBK) (Bankr. D.N.J.) in
 Mr. Feinberg’s capacity as the court-appointed expert under the Order Appointing Expert
 Pursuant to Federal Rule of Evidence 706, entered on August 15, 2022 [Docket No. 2881].

        The Togut Firm was retained by Mr. Feinberg pursuant to the Order Authorizing
 Retention of Togut, Segal & Segal LLP as Counsel to the Court Appointed Expert, entered on
 October 27, 2022 [Docket No. 3214]. As set forth in paragraph 10 of Albert Togut’s
 Affidavit in Support of Retention by Kenneth Feinberg, filed on October 16, 2022 [Docket
 No. 3145-1], the Togut Firm indicated that it would file a budget and staffing plan with
 the court following consultation with Mr. Feinberg. The budget and staffing plan set
 forth herein has been approved by Mr. Feinberg.

        The staffing plan contemplated at this time, based on the information the Togut
 Firm is aware of, is as follows:1

                       Timekeeper                 Year          Position          Rate
                       Albert Togut               1975          Partner          $1,300

                    Frank A. Oswald               1986          Partner          $1,120

                      Scott E. Ratner             1986        Sr. Counsel         $990

                   Brian Shaughnessy              2006        Sr. Counsel         $855

                       Minta Nester               2009          Counsel           $850

                       Bryan Kotliar              2012          Counsel           $810

                       John McClain               2010         Associate          $830

                        Amy Oden                  2015         Associate          $710

                       Griffin Quist              2019         Associate          $540

                     Joseph Murphy                2021         Associate          $350

                     Jonathan Cohen              N/A           Paralegal          $355

                     Alexandra Stolp             N/A           Paralegal          $260

 1
  Current hourly rates and titles for 2022. The Togut Firm’s rates are subject to adjustment, in accordance
 with the firm’s billing practices, in January of each year.
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       The Togut Firm may use other staff to carry out certain aspects of this
 engagement. Mr. Togut will lead the engagement for its entire duration.

       At this time, the Togut Firm estimates a range of fees for this engagement as
 follows:

                  Project Category                 Low Fees          High Fees

                Case Administration                    $250,000            $305,000

                  Diligence Review                   $1,010,000          $1,225,000

                    Expert Report                      $890,000          $1,070,000

              Retention of Professionals                $30,000             $45,000

           TSS Fee App / Fee Statements                 $60,000             $75,000

                Travel (Billed at 50%)                  $65,000             $80,000

                                         TOTAL:      $2,305,000          $2,800,000

        The estimated fees are based on our knowledge and experience in the
 performance of similar services and is subject to change based on future information,
 additional work product requests, and the availability of information from various
 parties (whether Debtor or Claimants representatives), on a timely basis.

        This budget is also based on an anticipated completion date of Mr. Feinberg’s
 expert report in the first quarter of 2023. Should such date change, this budget may also
 be subject to change. In addition, this budget does not include an estimate of time to
 prepare for depositions, rebuttal of certain submissions, if any, or preparing Mr.
 Feinberg or his other consultants for trial testimony.

        In addition, we estimate our expenses range between $35,000 and $65,000
 including meals, travel, expenses and lodging. If we have to acquire certain data from
 third party services, such costs would be in addition to these expenses.
